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                  UNITED STATES DISTRICT COURT
                  OF THE DISTRICT OF COLUMBIA

 CARL A. BARNES, et al

                  Plaintiffs
                                       Civil Action No: 06-315 (RCL)
 v.
                                       Next Event: None scheduled
 GOVERNMENT OF THE
 DISTRICT OF COLUMBIA,

                  Defendant


PLAINTIFFS’ MOTION TO COMPEL RESPONSE TO REQUEST # 4

  OF PLAINTIFFS’ REQUEST TO PRODUCE DOCUMENTS AND

       TANGIBLE THINGS AT THE [SIMMONS] DEPOSITION


      Plaintiffs hereby move this Court to compel defendant to

produce all documents plaintiffs requested in Request # 4 of their

Request to Produce Documents and Tangible Things at the

[Simmons] Deposition.


CONSENT SOUGHT BUT NOT OBTAINED
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     Plaintiffs sought consent from the District to this motion but

the District did not consent. Plaintiffs tried informally to obtain the

documents sought herein.


PLAINTIFFS’ DOCUMENT PRODUCTION AND RESPONSE


Document Request # 4. Plaintiffs’ exhibit #1.

Plaintiffs’ document production request # 4 reads: All documents
Ms. Simmons relied on in conducting her analysis and
memorializing her conclusions in the AUDIT analysis


District’s Response: The District’s response stated the District
had no documents responsive to the request.




REASON FOR THE REQUEST


     The District told plaintiffs informally that Ms. Simmons had

done a manual examination of about 6,000 inmate jackets and

recorded her findings on a spreadsheet. District’s Audit Analysis.

The District had told plaintiffs that the list of approximately 6,000

jackets was generated by the District using a query in JACCS to

produce a list of “potential” late releases for persons released in the

first year of the Barnes class.
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     So, plaintiffs requested documents relating to the manual

examination of the jackets and the results Ms. Simmons had got

from the jackets and the spreadsheet as part of the deposition of

Ms. Simmons.


     The District did not produce any documents in response to the

document production requests.


     During the deposition of Ms. Simmons Ms. Simmons told

plaintiffs’ counsel that Ms. Simmons had not recorded her findings

from the jackets into the Excel spreadsheet defendant had given

plaintiffs. Instead, she had recorded her findings into a program on

a computer. The spreadsheet appears to be a download of the raw

data from the program Ms. Simmons made her data entries into.


     The key difference is that the column headings on the

spreadsheet are not the same as the data entry fields Ms. Simmons

saw when she made her data entries. Ms. Simmons was not able to

identify many of the column headers. As a result, when plaintiffs

questioned Ms. Simmons about the fields in the spreadsheet and
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the data she had entered into the fields she was not able to answer

the questions.


     Plaintiffs’ request asked for all documents Ms. Simmons relied

on in compiling her findings. According to her testimony Ms.

Simmons relied on the data entry fields in the data entry screens.

The screens are electronic documents. Therefore they are covered y

plaintiffs’ request #4. They are visible electronically on the

computer Ms. Simmons used when she entered her conclusions.

They are also visible by using a function such as the “print screen”

function to capture images of the screens and print out had copies.

There are also documents or otherwise showing the relationship

between data entry fields and the “programmer” screen names on

the spreadsheet defendant produced to plaintiffs. Otherwise there

would be no connection between the data entry screens the

“programmer” screen names on the spreadsheet defendant

produced to plaintiffs.


     Therefore plaintiffs suspended the deposition in an attempt to

get the documents showing the relationship between data entry

fields and the “programmer” screen names on the spreadsheet
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defendant produced to plaintiffs. The District still has not produced

the documents.


RELIEF REQUESTED


     Plaintiffs’ move the Court to order defendant to produce

forthwith all documents responsive to request #4 and to return Ms.

Simmons to complete her deposition.


Respectfully submitted,

___/sig/ William Claiborne
WILLIAM CLAIBORNE
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and the Classes
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Plaintiffs certify that movants
they have in good faith conferred
with the defendant’s counsel in
an effort to obtain the
documents sought herein
without court action.

Respectfully submitted               Respectfully submitted,

_____________________________        _____________________________
Barrett S. Litt, Esq.                Paul J. Estuar, Esq.
pro haec vice                        pro haec vice
Litt, Estuar, Harrison & Kitson,     Litt, Estuar, Harrison & Kitson,
LLP                                  LLP
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